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einra. _ Appendix F

Trading and Quotation Halt for META MATERIALS PFD SER A (MMTLP)

Effective Friday, December 09, 2022, the Financial Industry Regulatory Authority, Inc.
(“FINRA”) halted trading and quoting in the Series A preferred shares of Meta Materials Inc.
(OTC Symbol: MMTLP). Pursuant to Rule 6440(a)(3), FINRA has determined that an
extraordinary event has occurred or is ongoing that has caused or has the potential to cause
significant uncertainty in the settlement and clearance process for shares in MMTLP and
that, therefore, halting trading and quoting in MMTLP is necessary to protect investors and
the public interest.

The trading and quoting halt will end concurrent with the deletion of the symbol effective
Tuesday, December 13, 2022. See updated FINRA Daily List announcement of December 8,

2022, regarding MMTLP; available here: https://otce.finra. org/otce/dailyList.

Questions regarding this notice can be directed to: FINRA Market Operations at
(866) 776-0800, Option 2.

investor protection. Market integrity.

